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                                                                    USDC SDNY
UNITED STATES DISTRICT COURT                                        DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                       ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                           DOC #: __________________
                                                                    DATE FILED: _6/29/2023_____
               -against-
                                                                           23 Cr. 118 (AT)
HO WAN KWOK and YANPING WANG,
                                                                               ORDER
                                Defendants.
ANALISA TORRES, District Judge:

       On June 27, 2023, Defendant Ho Wan Kwok filed a motion requesting that the Court amend
and reconsider its June 26, 2023 order (“Order”), ECF No. 93. ECF No. 96.

       Kwok argues that the Court erred when it stated that “defense counsel requested a trial date in
early April 2024.” Order at 2. He is correct. At a conference on June 6, 2023, defense counsel
requested “a trial date along the lines of what we proposed to the Court earlier in April.” June 6,
2023 Tr. 4:8-17, ECF No. 88. Counsel was referring to a letter to the Court dated April 20, 2023, in
which Defendants proposed a trial date of August 25, 2023. ECF No. 53. Accordingly, Kwok’s
motion to amend is GRANTED. The Court shall amend its Order to delete the following language:
“defense counsel requested a trial date in early April 2024.”

        Kwok also requests that, “to the extent that the Court’s decision to set the April 8, 2024 trial
date relies upon” the erroneous belief that defense counsel requested a trial date in early April 2024,
the Court reconsider its Order. ECF No. 96 at 2. Kwok contends that he did not waive his right to a
speedy trial. Id. The Order did not state that Kwok waived any rights, nor did the Court rely on any
purported waiver in coming to its decision. Similarly, the Order did not rest on Defendants’
acquiescence or objection to a particular trial date. The Court specifically noted that Defendants
opposed the exclusion of time and determined that the reasons for exclusion cited in the Order
“outweigh[] the interests of the public and Defendants in a speedy trial.” Order at 1–2; see also 18
U.S.C. § 3161(h)(7)(A). Therefore, the error identified by Kwok does not affect the Court’s
conclusion that the April 8, 2024 trial date and the exclusion of time are necessary to ensure
sufficient time for adequate preparation, given the complexity of this case, the voluminous discovery
in both Mandarin and English, and the involvement of classified information. Order at 2.
Accordingly, Defendant’s motion for reconsideration is DENIED.

       SO ORDERED.

Dated: June 29, 2023
       New York, New York
